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                                  No. 21-70008

          In the United States Court of Appeals
                  for the Fifth Circuit
                        Travis James Mullis,
                                  Petitioner-Appellant,
                                       v.
Bobby Lumpkin, Director, Texas Department of Criminal
     Justice, Correctional Institutions Division,
                           Respondent-Appellee.

               On Appeal from the United States District Court
            for the Southern District of Texas, Galveston Division

           PETITION FOR REHEARING EN BANC


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             Certificate of Interested Persons
                                No. 21-70008
                           Travis James Mullis,
                                       Petitioner-Appellant,
                                         v.
Bobby Lumpkin, Director, Texas Department of Criminal
     Justice, Correctional Institutions Division,
                           Respondent-Appellee.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, respondent, as a
governmental party, need not furnish a certificate of interested persons.

                                        /s/ Lanora C. Pettit
                                        Lanora C. Pettit
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         Introduction and Rule 35(b) Statement
    The panel reached the correct conclusion: it denied Travis Mullis’s request for
federal habeas relief from his capital sentence for the sexual assault and murder of
his infant son. But in doing so, the panel held that as a matter of this Court’s strict
rule of orderliness, 28 U.S.C. section 2254(e)(2)’s bar on evidentiary development
in federal habeas court does not apply to “showings that a procedural default is
excused,” Mullis v. Lumpkin, No. 21-70008, 2023 WL 4057540, Slip Op. 4 (5th Cir.

June 19, 2023) (“Slip Op.”), notwithstanding the Supreme Court’s recent statement
that federal courts are not to allow such a hearing, Shinn v. Ramirez, 142 S. Ct. 1718,
1737 (2022); see also Shoop v. Twyford, 142 S. Ct. 2037 (2022). The panel recognized
the tension between this Court’s rule and that announced by the Supreme Court,
Slip Op. 4, and that there is a circuit split over whether the Supreme Court’s recent
decisions abrogate earlier precedent. See id. at 7 n.5. But the panel considered itself
bound by prior circuit precedent. Id. at 6-7.
    Although it is unusual for a prevailing party to seek en banc review, it is
permissible. Fed. R. App. P. 35(b) (“A party may petition for a hearing or rehearing
en banc.”) (emphasis added); cf. Camreta v. Greene, 563 U.S. 692, 702-03 (2011).
And, here, it is appropriate. By stating that it could not follow contrary guidance from
the Supreme Court about when evidentiary development is permissible regarding a

federal habeas petition, the panel acknowledged that en banc review is necessary to
avoid conflict with Supreme Court precedent—not to mention maintain uniformity
of this Court’s precedent governing the weight given to ostensible dicta from the

Supreme Court. See Fed. R. App. P. 35(b)(1)(A). And by stating it could not “tak[e]


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sides” in a growing circuit split regarding how to interpret Ramirez, the panel
acknowledged that the question is of exceptional importance. Slip Op. 7 n.5; see Fed.
R. App. P. 35(b)(1)(B).
    En banc review is necessary. As a result of the panel’s rule, a host of state
prisoners seeking federal habeas relief can—and have—demanded hearings in the

district courts regarding undisputedly defaulted claims just to determine whether
their state habeas counsel provided ineffective representation in declining to bring
those claims. In all likelihood, those claims will ultimately fail because—like
Mullis’s—they are without merit. Nevertheless, as a direct result of the panel’s
application of the rule of orderliness, litigating each of these baseless petitions will
cost both district courts and the State enormously in terms of time and treasure. All
the while, victims’ families will be forced to watch justice grow stale. The interests
of justice and judicial economy would be best served by taking up the matter now,
before the judicial system expends innumerable resources developing and

considering evidence that the Supreme Court has said is barred under section
2254(e)(2).




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                              Issue Presented
    Whether en banc review is necessary to conform this Court’s precedent to
(1) recent Supreme Court authority interpreting 28 U.S.C. section 2254(e)(2), and
(2) the precedent of this Court’s sister circuits that have read Ramirez to bar a federal
court from considering evidence that is outside the state record even when a
petitioner pursues a claim under Martinez v. Ryan, 566 U.S. 1 (2012).

  Course of Proceedings and Statement of Facts

I. After the State Court Found Mullis Competent, He Waived All State
   Post-Conviction Proceedings.
    In granting a certificate of appealability, this Court summarized the relevant
facts about how “Travis Mullis sexually assaulted and murdered his infant son.”
Mullis v. Lumpkin, 47 F.4th 380, 383 (5th Cir. 2022) (“Mullis I”). After the jury
found Mullis guilty of capital murder and that he “likely would commit future violent
acts and that nothing mitigated his culpability,” the “trial court sentenced him to
death.” Id. “Mullis neither appealed that conviction and sentence nor timely filed a

state habeas petition.” Id.
    Mullis “flip-flopped time and time again about whether to waive his right to
challenge his conviction and sentence—both directly and collaterally—and his
desire to pursue those challenges pro se.” Slip Op. 2. “The volte-face at issue” in this
habeas petition “was Mullis’s attempt to waive state collateral review and to act pro
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se in any future decisions regarding the filing of a habeas petition.” Id. As
summarized by the panel:

    Although Mullis’s habeas attorneys objected to his decision to waive
    collateral review, they did not object to a report by a psychiatrist, Dr. Victor
    Scarano, finding that Mullis was mentally competent to make it. [After
    holding a hearing, t]he state court allowed Mullis “to act pro se regarding
    any decisions concerning waiver and/or filing a post-conviction writ of
    habeas corpus,” although the court also allowed the [counsel] to “continue
    to investigate and prosecute” a writ subject to Mullis’s consent (which he
    was withholding at the time).

Id. (quoting ROA.11392). Mullis continued to withhold that consent, and he never
filed a state habeas application. See id. When counsel later asked the Court of
Criminal Appeals to excuse Mullis’s failure to file, that Court denied the request.
ROA.11130-34.

II. This Court Allowed Mullis to Appeal the Denial of a Defaulted Wiggins
    Claim Under Martinez v. Ryan.
    Despite having waived appeal and state collateral review, Mullis “filed a federal
habeas petition asking the district court to disregard or excuse his procedural
default.” Mullis I, 47 F.4th at 383. He argued (inter alia) that his trial counsel
insufficiently investigated potential mitigation under Wiggins v. Smith, 539 U.S. 510
(2003). Id. at 393. Specifically, Mullis asserted trial counsel did not adequately

investigate and present the jury with sufficient evidence of childhood trauma that
Mullis suffered. Id. The district court denied habeas relief because it concluded
Mullis could not show ineffective assistance by his state habeas counsel, and thus

could not excuse his procedural default under Martinez. See ROA.4547-52.



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    Although the COA panel allowed Mullis to appeal the denial of his Wiggins
claim, Mullis I, 47 F.4th at 393, “the parties . . . agree that Mullis’ claims are
procedurally barred.” ROA.4535. As a result, the COA panel explained, Mullis
cannot pursue any claim without showing “‘cause’ for and ‘prejudice’ from the
default.” Mullis I, 47 F.4th at 390 (quoting Wanwright v. Sykes, 433 U.S. 72, 87

(1977)). To do so, Mullis “must identify ‘some objective factor external to the
defense [that] impeded counsel’s efforts to comply with the relevant procedural
rule.’” Id. (quoting United States v. Vargas-Soto, 35 F.4th 979, 993 (5th Cir. 2022)).
    The panel recognized that “Mullis’s [state habeas] lawyer did not abandon
him.” Mullis I, 47 F.4th at 391. To the contrary, state habeas counsel “resisted
Mullis’s effort to have [counsel] fired.” Id. Ultimately, however, counsel was
required to follow Mullis’s instructions not to pursue any claims. Id. at 383. But the
COA panel allowed Mullis to pursue his cause-and-prejudice argument under
Martinez. Mullis I, 47 F.4th at 392. Martinez holds that procedural default of an

ineffective-assistance-of-trial-counsel claim is excused if state habeas was the
prisoner’s first opportunity to raise such a claim, and the prisoner can show that his
state habeas counsel was ineffective under the Strickland v. Washington, 466 U.S. 668

(1984), standard. Martinez, 566 U.S. at 14-17; see also Trevino v. Thaler, 569 U.S. 413,
429 (2013) (applying Martinez to Texas proceedings). Because such claims have
become ubiquitous in the ten years since Martinez, the standard is well established:

the claimant must show that any reasonable habeas lawyer would have raised the
underlying IATC claim, and that he suffered prejudice as a result. E.g., Newbury v.
Stephens, 756 F.3d 850, 872 (5th Cir. 2014) (per curiam). This often involves an

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assessment of the merits of the underlying IATC claim. See, e.g., Ramirez v. Davis,
780 F. App’x 110, 119 (5th Cir. 2019); Segundo v. Davis, 831 F.3d 345, 351–52 (5th
Cir. 2016); Matthews v. Davis, 665 F. App’x 315, 322 (5th Cir. 2016) (per curiam).
But because Mullis forbade his lawyers from bringing any habeas claims, Mullis
argues that counsel was ineffective for inadequately opposing his competence to

waive state habeas proceedings. Mullis I, 47 F.4th at 391. “Had [counsel] done so,”
Mullis insists, “there was a reasonable probability that the state court would not have
found Mullis competent to waive habeas review and to proceed pro se. Thus, habeas
counsel was ineffective.” Slip Op. 3.
    Citing Harrington v. Richter, 562 U.S. 86, 108 (2011), the district court rejected
this theory because “Mullis has not shown that any additional actions by habeas
counsel would have changed his choice to waive review,” and “[a] court cannot fault
counsel for not investigating matters which his client will never let him litigate.”
ROA.4551. Regarding competency, the district court noted that counsel asked the

state habeas court to appoint a mental health expert to assess Mullis’s competency
and that expert concluded Mullis was competent to waive his rights. ROA.4517-20.
    Citing Profitt v. Waldron, 831 F.2d 1245 (5th Cir. 1987), the COA panel

concluded state habeas counsel’s performance was sufficiently debatable to allow a
COA because “[w]here an attorney has reason to believe that his client may be
incompetent, effective representation may require him to inquire beyond a clean bill

of mental health from a court-appointed psychiatrist.” Mullis I, 47 F.4th at 392
(citing 831 F.2d at 1249). Whether counsel’s performance was ineffective, the Court
concluded, is debatable because it “requires a fact-intensive application of the all-

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things-considered ‘reasonably effective assistance’ test.” Id. (quoting Strickland,
466 U.S. at 687). Driving this conclusion was the fact that at a hearing on Mullis’s
competency and request to waive counsel, counsel did not object to the expert’s
report or otherwise contest his competence. ROA.4519-20, ROA.6916-20.
      Although the COA panel stated that it granted a COA based “only on material

that was presented to the state courts,” it observed that Mullis’s claims implicated
the Supreme Court’s recent holding in Ramirez because “Mullis’s application
references new evidence that could bear on [the] ultimate analysis.” Mullis I, 47
F.4th at 392. The panel explained that in Ramirez, the Supreme Court “held that,
where a petitioner relies on Martinez v. Ryan to excuse a procedural default, ‘a
federal court may not hold an evidentiary hearing—or otherwise consider new
evidence—to assess cause and prejudice,’ if the petitioner failed to develop the
factual basis of [his] claim in State court proceedings.’” Id. (quoting Ramirez, 142 S.
Ct. at 1739, and 28 U.S.C. § 2254(e)(2)). This led the panel to pose two additional

questions:

      First, if Mullis’s lawyer inadequately assisted Mullis by not objecting to the
      psychiatrist’s report, was that failure external to Mullis? Second, can this
      court conclude that Mullis’s lawyer rendered inadequate assistance, given
      the evidence it may consider in the wake of Shinn v. Martinez Ramirez, 142
      S. Ct. 1718 (2022)?

Id.




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III. The Panel Denied Relief, But Only After Allowing Federal Habeas
     Petitioners to Offer New Evidence to Support Cause and Prejudice
     Without Regard to Ramirez or 28 U.S.C. Section 2254(e)(2).
    Fast forward to the merits. The panel ultimately—and correctly—concluded
that Mullis could not “demonstrate[] cause that would excuse his procedural
default.” Slip Op. 7. As the panel noted, Mullis’s habeas attorneys were “caught
between their duty to investigate Mullis’s mental health, and their obligation to
follow their client’s desire to waive.” Id. at 9 (citation omitted). And, considering all
the evidence Mullis proffered, the panel concluded that counsel “provided

reasonably effective representation, even if their efforts were sometimes imperfect.”
Id. at 12.
    In reaching those conclusions, however, the panel rejected the State’s argument
that section 2254(e)(2) prohibits a federal habeas court from considering Mullis’s
new evidence because he “failed to develop the factual basis” of the “claim in [s]tate
court proceedings.” 28 U.S.C. § 2254(e)(2); see Ramirez, 142 S. Ct. at 1739. The
panel reasoned that “[h]istorically, this circuit has construed ‘claim’” in section
2254(e)(2) “in the narrower sense,” and has “therefore declined to apply AEDPA’s
evidentiary bar to showings that a procedural default is excused.” Slip Op. 4. The

panel cited three examples of precedent in which this Court had allowed habeas
petitioners to present new evidence in support of cause and prejudice under
Martinez: Shore v. Davis, 845 F.3d 627, 633 (5th Cir. 2017) (per curiam), Segundo,
831 F.3d at 351, and Charles v. Stephens, 736 F.3d 380, 387 n.3 (5th Cir. 2013) (per
curiam). Slip Op. 4-5 & n.2.




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    The panel concluded that the rule of orderliness would apply to precedent
ostensibly exempting procedural evidentiary development from 2254(e)(2). Id. at 5-
6. The panel acknowledged that, in Ramirez, the Supreme Court “signaled that
[such] hearings fall within § 2254(e)(2)’s ambit.” Id. at 5 n.3. In particular, the
Supreme Court expressed “doubt” about the theory that “determin[ing] whether

there is cause and prejudice” to excuse procedural default “is not a ‘hearing on the
claim’” subject to section 2254(e)(2). Ramirez, 142 S. Ct. at 1738. But the panel
dismissed this discussion as dictum, observing that the Supreme Court went on to
say it was not resolving whether a so-called Martinez hearing is “on the claim.” Slip
Op. 5 & n.3. The panel concluded that “Ramirez’s suspicion of admitting evidence
outside the state record to determine whether procedural default is excused” does
not abrogate this Court’s precedent exempting Martinez hearings from section
2254(e)(2)’s limitations. Slip Op. 6-7.
    This petition follows.

                                  Argument
    Invoking the rule of orderliness, the panel permits federal district courts to do
precisely what Ramirez said they may not do: “needlessly prolong” habeas
proceedings by holding a Martinez hearing on evidence that “never would entitle the
prisoner to federal habeas relief.” 142 S. Ct. at 1739 (cleaned up). This hits both
reasons for en banc review: it creates an intra-circuit split on how to assess Supreme
Court dicta, and it deepens an inter-circuit split on how to interpret the effect of
Ramirez on the availability of an evidentiary hearing to assess cause and prejudice

under Martinez.

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I. Review Is Needed to Align This Court’s Precedent With that of the
   Supreme Court.
    To start, “en banc consideration is necessary to . . . maintain uniformity of the
Court’s decisions” regarding the binding effect of Supreme Court dicta. Fed. R.

App. P. 35(a)(1). The Supreme Court granted review in Ramirez to reject the Ninth
Circuit’s practice of allowing unlimited evidentiary development to assess cause
under Martinez, which the petitioner would then use to bootstrap support for his

underlying IATC claims. 142 S. Ct. at 1729-30. The Court held that if section
2254(e)(2) “applies[,] and the prisoner cannot satisfy its ‘stringent requirements,’ a
federal court may not hold an evidentiary hearing—or otherwise consider new

evidence—to assess cause and prejudice under Martinez,” 142 S. Ct. at 1739
(quoting Williams v. Taylor, 529 U.S. 420, 433 (2000)). Although the Supreme Court
did not reach the issue, it observed: “[t]here are good reasons to doubt” the
petitioner’s assertion that a hearing on cause and prejudice is not a “hearing on the
claim” subject to section 2254(e)(2). Id. at 1738. In Shoop, the Supreme Court re-
affirmed that “if § 2254(e)(2) applies and the prisoner cannot meet the statute’s

standards for admitting new merits evidence, it serves no purpose to develop such
evidence just to assess cause and prejudice.” 142 S. Ct. at 2046 (citing Ramirez, 142
S. Ct. at 1738).

    Panels of this Court have split about how to deal with Ramirez’s treatment of
Martinez claims. Some have concluded (properly) that Ramirez underscores that
Martinez is a “narrow exception,” and “the federal habeas court’s review is limited
to the state court record.” Nelson v. Lumpkin, No. 17-70012, Slip Op. 9-10 (5th Cir.



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June 30, 2023); see also Cole v. Lumpkin, No. 21-70011, 2022 WL 3710723, at *5 (5th
Cir. Aug. 26, 2022) (per curiam), pet. for certiorari docketed (Mar. 7, 2023). By
contrast, the panel here determined that because the Supreme Court’s statement
about what constitutes a hearing on a claim was “dicta” the Court is bound to
consider evidence first introduced in federal court. Slip Op. 5 n.3.

    Even taking the panel’s assessment at face value, en banc review is warranted to
maintain consistency on how this Court treats Supreme Court dicta generally and
Ramirez specifically. The panel “acknowledge[d] the importance of dicta in Supreme
Court opinions.” Id. But that is not enough: this Court has repeatedly stated that it
is “generally bound by Supreme Court dicta, especially when it is recent and
detailed.” Hollis v. Lynch, 827 F.3d 436, 448 (5th Cir. 2016) (emphasis added)
(quotation marks omitted); see also Campaign for S. Equal. v. Bryant, 791 F.3d 625,
627 n.1 (5th Cir. 2015). Under that rule, the Supreme Court’s analysis of section
2254(e)(2) should have bound the panel. After all, in the last 18 months, the Supreme

Court has twice stated that (1) federal habeas petitioners cannot support their IATC
claims with evidence first introduced in federal court, and (2) any evidence
supporting a Martinez cause-and-prejudice claim must meet the same requirements

as evidence supporting the underlying claim. See supra at 8. That is precisely the type
of putative dicta that this Court considers binding—notwithstanding the rule of
orderliness. See, e.g., Gearlds v. Entergy Sers., Inc., 709 F.3d 448, 450 (5th Cir. 2013)

(concluding that dicta in CIGNA Corp. v. Amara, 563 U.S. 421 (2011), overturned
Amschwand v. Spherion Corp., 505 F.3d 342 (5th Cir. 2007)); accord Dolgencorp, Inc.
v. Miss. Band of Choctaw Indians, 746 F.3d 167, 179 n.5 (5th Cir. 2014) (Smith, J.,

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dissenting) (citing Gearlds with favor). At minimum, en banc review is necessary to
maintain uniformity in how lower courts should treat Supreme Court dicta. Fed. R.
App. P. 35(b)(1)(A).

II. En Banc Review Is Also Warranted to Align Circuit Precedent with the
    Correct Side of the Circuit Split Over the Impact of Ramirez.
    En banc review is also proper because if the panel is right that this Court’s
precedent requires it to disregard Supreme Court precedent regarding Martinez

hearings, that is grounds for certiorari review (and reversal) by the Supreme Court.
See Sup. Ct. R. 10(c). Even apart from that, the proper interpretation of section
2254(e)(2) presents an important and recurring question for litigants and courts
throughout the Fifth Circuit. See Fed. R. App. P. 35(b)(1)(B).
    A. The question of how to properly interpret AEDPA is indisputably
important. AEDPA “is to be determined by reference to a uniform federal rule.”

Clay v. United States, 537 U.S. 522, 531 (2003). In Ramirez, the Supreme Court
created such a rule by reaffirming that petitioners should not be allowed to
“needlessly prolong federal habeas proceedings” by developing evidence that
Congress has forbidden them from using. 142 S. Ct. at 1739.
    But according to the panel, this Court’s precedent “permit[s]” federal courts to
do precisely what the Supreme Court has forbidden: “consider [evidence]

‘presented for the first time in federal court.’” Slip Op. 4 (quoting Segundo, 831 F.3d
at 351). The Supreme Court has long held that new evidence cannot be the basis for
federal habeas relief because “[f]ederal courts sitting in habeas are not an alternative

forum for trying facts and issues which a prisoner made insufficient effort to pursue


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in state proceedings.” Cullen v. Pinholster, 563 U.S. 170, 186 (2011). The Supreme
Court has now unambiguously said that “a Martinez hearing is improper if the newly
developed evidence never would entitle the prisoner to federal habeas relief.”
Ramirez, 142 S. Ct. at 1739 (quotation marks omitted). Indeed, in Shoop the Supreme
Court called this a holding. 142 S. Ct. at 2046 (“[T]his Court has already held that

. . . .” (emphasis added)). Yet, the panel said that this Court’s case law mandates
that “presentation of new evidence in federal court is not barred” in a Martinez
hearing. Slip Op. 5 n.2 (cleaned up) (quoting Charles v, 736 F.3d at 387 n.3.
    Even if these rules could be reconciled because whether prejudice can be
established under Martinez is a slightly different question than the underlying IATC
claim, the panel makes no effort to explain how practically district courts are
supposed to disentangle the questions. For example, in Washington v. Davis, 715 F.
App’x 380 (5th Cir. 2018) (per curiam), evidentiary development litigation on a
Martinez claim lasted for years after this Court ordered the district court to allow

factual development. Id. at 385-86. It stopped only after the Supreme Court issued
Ramirez. The same is true in Tong v. Lumpkin, 825 F. App’x 181 (5th Cir. 2020) (per
curiam), where years of evidentiary development litigation on a Martinez claim

followed this Court’s remand to reconsider expert funding, only to be stopped by
Ramirez. In these cases, at the least, the panel’s opinion threatens to further delay
the finality that has already been unreasonably delayed. The Supreme Court issued

Ramirez to prevent such needless delay, 142 S. Ct. at 1739, which is fundamentally
at odds with the “comity, finality, and federalism” that AEDPA was meant to
protect, Davila v. Davis, 582 U.S. 521, 537 (2017).

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    B. The importance of the question here is further underscored because, as the
panel “acknowledge[d],” there is now a “circuit split on the question” of how
Ramirez affects the availability of a Martinez hearing. Slip Op. 7 n.5. In Williams v.
Superintendent Mahanoy SCI, 45 F.4th 713 (3d Cir. 2022), the Third Circuit held that
Ramirez did not abrogate the circuit’s rule that AEDPA does not forbid factual

development to excuse procedural default. Id. at 723. But in Stokes v. Stirling, 64
F.4th 131 (4th Cir. 2023), the Fourth Circuit concluded that Ramirez prohibits the
introduction of such evidence. Id. at 136.
    For the reasons noted above and in the Director’s briefing, the Fourth Circuit’s
conclusion is correct. A holding that allows factual development on procedural
default where that evidence would be barred in supporting the underlying IATC
claim cannot be squared with section 2254(e)(2) after Ramirez and Shoop. By
contrast, the Third Circuit allows a Martinez hearing to consider new evidence—
albeit after the court “decide[s] whether an underlying ineffectiveness claim

succeeds considering only the state court record”—based on pre-Ramirez circuit
precedent and a narrow view of which parts of Ramirez are binding. Superintendent
Mahanoy, 45 F.4th Cir. At 723. This Court should join the Fourth Circuit in

following the clear direction from the Supreme Court’s recent decisions. At a
minimum, this question is one of exceptional importance that merits the full Court’s
attention. See Fed. R. App. P. 35(b)(1)(B).

    C. The question is also recurring. Habeas petitioners in pursuit of discovery
and evidentiary hearings have already invoked the panel’s decision. See, e.g., Reply
in Support of Motion for Discovery at 5, Rubio v. Lumpkin, No. 1:18-cv-00088 (S.D.

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Tex. June 23, 2023), ECF No. 92. The panel’s decision “is itself a determination
subject to the rule of orderliness,” Gahagan v. USCIS, 911 F.3d 298, 302 (5th Cir.
2018), and other pending cases implicate the question too, e.g., Tabler v. Lumpkin,
No. 22-70001 (5th Cir.) (oral argument calendared for August 8, 2023). The panel’s
decision warrants en banc review, sooner or later. To preserve state resources, serve

the interests of justice for victims and their families, and promote judicial economy,
Respondent submits it should be sooner.

                                 Conclusion
    Respondent respectfully requests that the Court rehear this matter en banc.

                                       Respectfully submitted.

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                       Certificate of Service
    On July 3, 2023, this petition was served via CM/ECF on all registered counsel
and transmitted to the Clerk of the Court. Counsel further certifies that: (1) any
required privacy redactions have been made in compliance with Fifth Circuit Rule
25.2.13; (2) the electronic submission is an exact copy of the paper document in
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                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit

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    This petition complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 35(b)(2)(A) because it contains 3,859 words, excluding the
parts of the brief exempted by Rule 32(f); and (2) the typeface requirements of Rule
32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been
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                                      Lanora C. Pettit




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        United States Court of Appeals
             for the Fifth Circuit
                              ____________
                                                                   United States Court of Appeals
                                                                            Fifth Circuit
                               No. 21-70008
                              ____________                                FILED
                                                                      June 19, 2023
Travis James Mullis,                                                 Lyle W. Cayce
                                                                          Clerk
                                                        Petitioner—Appellant,

                                    versus

Bobby Lumpkin, Director,
Texas Department of Criminal Justice, Correctional Institutions Division,

                                         Respondent—Appellee.
               ______________________________

               Appeal from the United States District Court
                   for the Southern District of Texas
                         USDC No. 3:13-CV-121
               ______________________________

Before Smith, Higginson, and Willett, Circuit Judges.
Jerry E. Smith, Circuit Judge:
       We granted Travis Mullis a partial certificate of appealability
(“COA”) after the district court dismissed his federal habeas corpus
petition under the Antiterrorism and Effective Death Penalty Act
(“AEDPA”).
       In his state habeas proceedings, Mullis procedurally defaulted on his
claim of ineffective assistance of trial counsel. He contends that the default
stemmed from ineffective assistance of state habeas counsel and should there-
fore be excused. Because Mullis has not shown that habeas counsel was inef-
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fective, he has not shown cause for the default. We therefore affirm the
dismissal.

                                       I.
       We recited the relevant factual and procedural history in our opinion
granting Mullis a partial COA. See Mullis v. Lumpkin, 47 F.4th 380, 383–87
(5th Cir. 2022). In summary, Mullis was sentenced to death for capital mur-
der. After his conviction, and all the way through his federal habeas litigation,
Mullis has flip-flopped time and time again about whether to waive his right
to challenge his conviction and sentence—both directly and collaterally—
and his desire to pursue those challenges pro se.
       The volte-face at issue was Mullis’s attempt to waive state collateral
review and to act pro se in any future decisions regarding the filing of a habeas
petition. Mullis was purportedly represented in his state habeas proceedings
by attorneys in the Office of Capital Writs (“OCW”), including Brad Lev-
enson. Although Mullis’s habeas attorneys objected to his decision to waive
collateral review, they did not object to a report by a psychiatrist, Dr. Victor
Scarano, finding that Mullis was mentally competent to make it. The state
court allowed Mullis “to act pro se regarding any decisions concerning waiver
and/or filing a post-conviction writ of habeas corpus,” although the court
also allowed the OCW to “continue to investigate and prosecute” a writ sub-
ject to Mullis’s consent (which he was withholding at the time).
       Ultimately, Mullis did not timely file a state habeas petition. After his
prospects in state court ended, he filed a habeas petition in federal district
court, which dismissed, finding that he had procedurally defaulted on his
claims. It also denied him a COA.
       We in turn granted Mullis a COA in part, limited to the following
questions: (1) Did Mullis’s state habeas counsel render inadequate assistance
by conceding that Mullis was competent to waive review? (2) Can the court
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reach that conclusion based on evidence consistent with Shinn v. Martinez
Ramirez (Ramirez), 142 S. Ct. 1718 (2022)? (3) If Mullis’s state habeas coun-
sel rendered inadequate assistance, was the inadequate assistance a cause
external to Mullis?

                                     II.
       We review the district court’s factual findings for clear error and its
legal conclusions de novo. See Sanchez v. Davis, 936 F.3d 300, 304 (5th Cir.
2019) (citing Dorsey v. Stephens, 720 F.3d 309, 314 (5th Cir. 2013)). Inef-
fective-assistance-of-counsel claims are mixed questions of law and fact.
Strickland v. Washington, 466 U.S. 668, 698 (1984) (citing Cuyler v. Sullivan,
446 U.S. 335, 342 (1980)). Additionally, we “may affirm on any ground sup-
ported by the record.” Sanchez, 936 F.3d at 304 (quoting Dorsey, 720 F.3d
at 314).
                                     III.
       Mullis contends that his procedural default is excusable because the
OCW failed fully to investigate his mental health despite having concerns
about it. Had it done so, claims Mullis, there was a reasonable probability
that the state court would not have found Mullis competent to waive habeas
review and to proceed pro se. Thus, habeas counsel was ineffective. Mullis
also asserts that any relevant ineffectiveness is a cause “external” to him, a
necessary requirement for excusing procedural default.
       We disagree. But before we reach the merits of Mullis’s claims, we
must answer a threshold question: what evidence we may consider.

                                     A.
       Mullis and the state disagree about what evidence we are permitted to
review. Mullis maintains that he is able to expand the record beyond the one
developed in state court. He wants to introduce evidence from his so-called
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“Martinez hearing” in district court, which is a hearing set to determine
whether there was ineffective assistance of state habeas counsel—an excuse
for procedural default under Martinez v. Ryan, 566 U.S. 1, 17 (2012). The
state counters that the relevant record comprises only the state trial and
waiver records that satisfied the state’s procedural requirements.
       Given our precedent, Mullis is correct. Under AEDPA, federal dis-
trict courts in habeas cases may not hold evidentiary hearings “[i]f the appli-
cant has failed to develop the factual basis” of the “claim in [s]tate court pro-
ceedings.” 28 U.S.C. § 2254(e)(2). 1 This case turns on what the term
“claim” refers to. Does it refer to any claim made in the habeas context
(including excuses for procedural default), or does it refer only to the under-
lying merits claim?
       Rephrasing the question, does § 2254(e)(2) bar us from considering
evidence that is outside of the state record when we are adjudicating a Mar-
tinez claim?
       Although the parties focus on recent Supreme Court decisions, we
must take a step back and consider the state of our circuit’s law. Historically,
this circuit has construed “claim” in the narrower sense. We have therefore
declined to apply AEDPA’s evidentiary bar to showings that a procedural
default is excused. In Segundo v. Davis, 831 F.3d 345, 351 (5th Cir. 2016), for
example, we held that evidentiary hearings on Martinez claims are permitted
but not required. We therefore allowed the district court to consider an affi-
davit “presented for the first time in federal court” when determining
whether the defendant’s procedural default was excused. Id. at 350. In other
cases, we have come to the same conclusion: Evidence outside the state


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           Subject to two exceptions not relevant here. See 28 U.S.C. § 2254(e)(2)(A).
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record may be considered when assessing a Martinez claim. 2
        We now turn to whether recent Supreme Court jurisprudence has
abrogated that caselaw. In Ramirez, the Court held that Martinez does not
permit federal courts “to dispense with § 2254(e)(2)’s narrow limits because
a prisoner’s state postconviction counsel negligently failed to develop the
state-court record.” 142 S. Ct. at 1728. But at issue in Ramirez was the use
of evidence developed in a Martinez hearing to assess the defendant’s
underlying merits claim of ineffective assistance of trial counsel. Id. at 1729–
30. Shinn did not reach—and indeed expressly reserved—resolution of the
current situation: the use of evidence outside the state record in the Martinez
context to establish cause and prejudice. See id. at 1738 (noting that while
there are “good reasons to doubt” the proposition that Martinez hearings are
not “hearing[s] on the claim” for § 2254(e)(2) purposes, there was no need
for the Court to address it). 3
        One month later, the Court handed down Shoop v. Twyford, 142 S. Ct.
2037 (2022), which reaffirmed Ramirez. Twyford involved the transportation
of the defendant to a hospital for medical testing, evidence that the defendant
asserted would be helpful in obtaining habeas relief. Id. at 2041. He
“asserted in passing that the desired evidence could ‘plausibly’ bear on the

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           See Charles v. Stephens, 736 F.3d 380, 387 n.3 (5th Cir. 2013) (per curiam) (“Char-
les does not claim that his state habeas counsel was ineffective and, therefore, cannot rely
on . . . Trevino v. Thaler, [569 U.S. 413] (2013), [affirming Martinez,] to argue that . . . [the]
presentation of new evidence in federal court [is not barred].”); Shore v. Davis, 845 F.3d
627, 633 (5th Cir. 2017) (per curiam) (“Because Shore cannot effectively invoke Trevino
and Martinez, . . . the new evidence on which Shore seeks to rely is not properly before this
court.”).
        3
         In dictum, the Court has signaled that Martinez hearings fall within § 2254(e)(2)’s
ambit. See Ramirez, 142 S. Ct. 1738–39. Though we acknowledge the importance of dicta
in Supreme Court opinions, see United States v. Becton, 632 F.2d 1294, 1296 n.3 (5th Cir.
1980), our rule of orderliness still governs, as discussed infra.
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question whether to excuse procedural default.” Id. at 2046. His argument,
however, was lacking in detail and failed to specify which defaulted claims he
intended to bring. In holding that the district court erred in ordering the
transportation because the defendant failed to show that any resulting evi-
dence was admissible, the Court noted the following: “And in any event, this
Court has already held that, if § 2254(e)(2) applies and the prisoner cannot
meet the statute’s standards for admitting new merits evidence, it serves no
purpose to develop such evidence just to assess cause and prejudice.” Id.
(citing Ramirez, 142 S. Ct. at 1738).
        That language reflects Ramirez’s suspicion of admitting evidence out-
side the state record to determine whether procedural default is excused. 4 It
is, however, seemingly dictum.
        More importantly, the Court’s observation is directed at a different
set of facts, where the defendant made no specific claims at all about how the
proposed evidence would support his claim for habeas relief generally, and
where the district court likewise failed to explain how the evidence would
help the defendant’s cause, given the application of § 2254(e)(2)’s evidenti-
ary bar to his merits claim. See Twyford, 142 S. Ct. at 2045–46. In other
words, the defendant’s assertion that the testing would probe his Martinez
claim appears to have been little more than a Hail Mary pass in his attempt
to get the evidence admitted on his merits claim. Here, by contrast, the
evidence Mullis seeks to admit undeniably pertains to his Martinez claim and
would be used in that context alone.
        Although the Supreme Court may, some day, extend AEDPA’s evi-

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          See Ramirez, 142 S. Ct. at 1738 (“While we agree that any such Martinez hearing
would serve no purpose, that is a reason to dispense with Martinez hearings altogether, not
to set § 2254(e)(2) aside.”).
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dentiary restrictions to the Martinez context (or, as it has suggested, dispense
with Martinez hearings altogether), we may not violate our rule of orderliness
to do so. See United States v. Traxler, 764 F.3d 486, 489 (5th Cir. 2014). In
the absence of any on-point intervening law, whether in a statute or in a
Supreme Court opinion, we must follow our narrow construction of “claim”
in § 2254(e)(2). Accordingly, evidence outside the state record is admissible
in Martinez claims for the limited purpose of establishing an excuse for pro-
cedural default, even in the wake of Ramirez and Twyford. 5

                                           B.
        We now address the merits of Mullis’s claims and conclude that he
has not demonstrated cause that would excuse his procedural default. We
therefore need not reach the questions of prejudice or externality.
        Procedural default “prevents federal habeas corpus review of the
defaulted claim, unless the petitioner can demonstrate cause and prejudice
for the default.” Gray v. Netherland, 518 U.S. 152, 162 (1996) (collecting
cases). Cause exists where “some objective factor external to the defense”
impeded a petitioner’s efforts to comply with the relevant state procedural
rule. Coleman v. Thompson, 501 U.S. 722, 753 (1991) (quoting Murray v.
Carrier, 477 U.S. 478, 488 (1986)).
        One such factor is ineffective assistance of habeas counsel, at least in
states—such as Texas—that functionally require ineffective-assistance-of-

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          We acknowledge the circuit split on the question. Compare Williams v. Superin-
tendent Mahanoy SCI, 45 F.4th 713, 723 (3d Cir. 2022) (holding that Ramirez did not
abrogate the circuit’s holding that AEDPA does not forbid factual development regarding
excusing procedural default), with Stokes v. Stirling, 64 F.4th 131, 136 (4th Cir. 2023)
(concluding that Ramirez prohibits the introduction of new evidence in support of Martinez
claims). Our rule of orderliness precludes our taking sides in the split, absent en banc
reconsideration.
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trial-counsel claims to be brought in initial-review collateral proceedings.
See Martinez, 566 U.S. at 9–12; Trevino v. Thaler, 569 U.S. 413, 417 (2013).
In the relevant context, “the proper standard for attorney performance is that
of reasonably effective assistance.” Washington, 466 U.S. at 687 (citing
Trapnell v. United States, 725 F.2d 149, 151–52 (2d Cir. 1983)). That standard
is objective and tethered to “prevailing professional norms.” See id. at 688.
       Mullis’s claims that his habeas attorneys were ineffective center on
the state habeas court’s determination that he was competent to waive state
habeas review and habeas representation. In particular, Mullis contends that
his counsel did not adequately investigate his mental health.
       Mullis posits several deficiencies. The first is that although his habeas
attorneys requested that Mullis be evaluated by a court-appointed mental-
health expert, they failed to provide the expert with relevant mental-health
records, trial transcripts, and other information that Mullis says were
“critical” to the evaluation. The second is that habeas counsel failed to
object to the report or challenge Mullis’s waiver at the waiver hearing—the
result of an “unethical promise” not to challenge Mullis’s competence if an
independent expert found him competent. We are persuaded by neither.
       Texas law allows inmates to waive state habeas review. Ex parte Rey-
noso, 228 S.W.3d 163, 165 (Tex. Crim. App. 2007) (per curiam). It also
permits them to waive habeas representation, provided that the waiver is
“intelligent and voluntary.” 6
       The Fifth Circuit has described the inquiry for postconviction compe-
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          Tex. Code Crim. Proc. Ann. art. 11.071 § 2(a); see also Ex Parte Gallo,
448 S.W.3d 1, 5 n.23 (Tex. Crim. App. 2014). The competency inquiry differs from the
knowing-and-voluntary inquiry. Mullis, 47 F.4th at 390 & n.21 (citing Godinez v. Moran,
509 U.S. 389, 401 n.12 (1993)). Given Mullis’s arguments, however, the distinction is
irrelevant here. See id.
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tency as follows: First, does the individual suffer from a mental disease,
disorder, or defect? Second, if so, does that condition prevent him from
understanding his legal position and the options available to him? Third, if
not, does that condition nevertheless prevent him from making a rational
choice among his options? Mata v. Johnson, 210 F.3d 324, 328 (5th Cir. 2000)
(citing Rumbaugh v. Procunier, 753 F.2d 395, 398 (5th Cir. 1985)).
       Considering the totality of the circumstances, Mullis’s habeas counsel
provided reasonably effective assistance. Leading up to the waiver hearing,
Mullis maintained that he wanted to waive habeas review and dismiss his
attorneys. His habeas attorneys were therefore caught between their duty to
investigate Mullis’s mental health, see Profitt v. Waldron, 831 F.2d 1245,
1248–49 (5th Cir. 1987), and their obligation to follow their client’s desire to
waive, cf. McCoy v. Louisiana, 138 S. Ct. 1500, 1508 (2018).
       Accordingly, Mullis’s habeas attorneys agreed that if an expert found
Mullis competent, they would not challenge his waiver. To that end, they
requested that the court order a mental-health evaluation.           The court
appointed Dr. Scarano. As part of his evaluation, Scarano considered various
sources, including prison medical records, court transcripts (albeit not of the
trial), and a video interview of Mullis conducted by a reporter. As part of the
evaluation, Scarano interviewed Mullis and performed seven forensic psychi-
atric tests. He also considered Mullis’s descriptions of his mental-health
history, including his diagnosis of bipolar disorder, his suicidality as an ado-
lescent, his past drug abuse, and his childhood sexual abuse. Scarano then
explained, in a twenty-page report, his finding that Mullis was competent to
waive his right to habeas review.
       It is certainly true that habeas counsel could have provided more mate-
rial to Scarano. Levenson did state that he spoke with Scarano before the
evaluation and told him what the trial experts had said about Mullis’s mental-
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health history and about Mullis’s fear of being raped if put into general
population. But he could have provided more medical files and notes (to
which he had access) prepared by mental-health experts who testified at
Mullis’s trial. And although the trial had not yet been transcribed, Levenson
could have tried to postpone the waiver hearing until after the transcript was
produced.
        More concerningly, the habeas attorneys were surprised by the fact
that, despite Mullis’s mental-health history and diagnoses, Scarano did not
diagnose him with any Axis I (mental-health and substance-abuse disorders)
or Axis II (personality disorders and mental retardation) conditions. Scarano
did, however, find that Mullis had “Features of Borderline Personality Dis-
order,” an Axis II disorder. But the attorneys did not sit idle: Levenson called
Scarano to discuss the “discrepancies,” whereupon Scarano informed Lev-
enson that “his findings were based upon his current observations” of Mullis
at the time.
        Given the context, the habeas attorneys were reasonable in not chal-
lenging Scarano’s conclusions. Segundo, 831 F.3d at 352. It is true that the
opinion of a court-appointed psychiatrist does not always exonerate counsel
of any duty to investigate further. Profitt, 831 F.2d at 1249. But considering
all the circumstances, see Washington, 466 U.S. at 691, Mullis’s habeas attor-
neys did not have a duty to investigate more than they did. Worried about
Mullis’s competency, they sought a mental-health evaluation. And although
they did not provide Scarano with every medical or other relevant record
possible, Scarano was aware—both through Levenson and Mullis himself—
of the contours of Mullis’s diagnoses and mental-health history. 7

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         Cf. Roberts v. Dretke, 381 F.3d 491, 499 (5th Cir. 2004) (“There is no doubt that
[defense counsel] neither collected [the defendant’s] medical records nor did he contact
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        In brief, the evaluation ultimately concluded that Mullis was compe-
tent. Counsel followed up with Scarano with questions about his findings.
That was enough. 8
        Mullis’s contrary assertions are unavailing. He points, for example,
to Profitt, 831 F.2d at 1249, where we held that trial counsel had a duty to
investigate further the defendant’s mental health even though a court-
appointed doctor found that he was competent to stand trial. The report,
however, was provided to counsel on the very day of the competency hearing
and the day before the trial, hardly allowing counsel much time to review it
thoroughly. Counsel was also on constructive notice that Profitt had been
adjudicated insane a mere eight months before his trial. Id.
        Here, by contrast, Mullis’s habeas counsel had the opportunity to
consider Scarano’s report and to follow up with him about the results. And
there was no similar adjudication of incompetence. To the contrary, Mullis
endured his entire trial without being found legally incompetent by the court
and, by the time of his habeas waiver, had already been found competent to
waive his direct appeal—with the same judge presiding throughout.
        Moreover, the court-appointed expert in Profitt also concluded that
Profitt was sane at the time of his offense. On that basis, trial counsel decided
not to plead an insanity defense—the only defense that counsel had intended
to present. 831 F.2d at 1247. We noted that where there is “no advantage in
the decision to bypass the insanity defense,” a decision to abandon it

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[his] treating physicians regarding [his] suicide ideation or his subsequent treatment for
related depression . . . . However, it is clear from Dr. Arambula’s report that the doctor
was well aware of the fact that Roberts had previously had suicidal thoughts.”).
        8
           Several of Mullis’s mental-health conditions, including “suicidality and depres-
sion[,] are not necessarily indications of incompetence.” Austin v. Davis, 876 F.3d 757, 785
(5th Cir. 2017).
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(especially based on faulty information) was not a “tactical” decision. Id.
at 1249.
       But Mullis’s case is not in a trial posture, and the failure of Mullis’s
counsel to challenge his competence to waive habeas review is not analogous
to a strategic or tactical choice regarding trial defenses. It was merely acqui-
escence to Mullis’s wishes in light of a court-appointed expert’s finding that
Mullis was competent—wishes that are permissible given that defendants
need not pursue habeas relief at all. In sum, Profitt is easily distinguishable.
       Mullis’s reliance on Bouchillon v. Collins, 907 F.2d 589 (5th Cir. 1990),
is likewise misplaced. Bouchillon pleaded guilty of robbery but later peti-
tioned for habeas corpus, claiming that he was both insane at the time of the
offense and incompetent at the time of his plea. Id. at 590–91. As in Profitt,
the only available defense appeared to be insanity. And although Bouchil-
lon’s trial counsel was aware of his history in mental institutions, counsel
failed to investigate his mental health at all, not even seeking a psychiatric
evaluation. Id. at 597. “To do no investigation at all on an issue that not only
implicates the accused’s only defense, but also his present competency, is
not a tactical decision.” Id.
       Mullis’s counsel, in stark contrast, did investigate by requesting a
medical evaluation. And, again, his attorneys were not mounting a defense
at trial but instead were determining whether they could acquiesce to Mul-
lis’s desire to waive habeas relief and dismiss them. Bouchillon is distin-
guishable for largely the same reasons Profitt is. Cf. Green v. Johnson,
116 F.3d 1115, 1123 (5th Cir. 1997) (distinguishing both Profitt and Bouchillon
for similar reasons).
       In conclusion, Mullis’s habeas attorneys provided reasonably effec-
tive representation, even if their efforts were sometimes imperfect. The
investigation into Mullis’s competence was adequate, given the available
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facts. Theriot v. Whitley, 18 F.3d 311, 313 (5th Cir. 1994). And considering
the procedural history and Scarano’s findings, habeas counsel reasonably
decided not to challenge Scarano’s conclusion that Mullis was competent to
waive his right to review.
       The dismissal of Mullis’s habeas petition is AFFIRMED.
